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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JOHN G. KRUSE and MARIE KRUSE,

              Plaintiffs,                    Case No. 16-cv-10304-AJT-RSW
v.                                           Hon. Arthur J. Tarnow

REGINA CAELI, INC., a foreign
not for profit corporation; RICH BECKMAN,
PETER IDLER, DANIEL SAEGAERT,
STEVEN KONSIN, NORBERT MADUZIA,
AUGUSTINE TRAN and JOSHUA ALLEN,

              Defendants.


      MARIE KRUSE’S MOTION FOR CONDITIONAL CERTIFICATION
     AND COURT-SUPERVISED NOTICE PURSUANT TO 29 U.SC. §216(B)
                     AND BRIEF IN SUPPORT

        Marie Kruse, on behalf of herself and others similarly situated, states as

follows for her Motion for Conditional Certification and Court-Supervised Notice

Pursuant to 29 U.S.C. §219(b) and Brief in Support:

              MOTION FOR CONDITIONAL CERTIFICATION

        1.    Marie Kruse was employed by Regina Caeli, Inc. (“RCA”) as a lead

tutor in RCA’s local hybrid homeschooling program (“Detroit Program”).

        2.    In addition to tutoring students a few hours per week, RCA required

Ms. Kruse to remain on-site for eight hours per day as an assistant tutor. She was

only paid $25 for the sixteen hours per week she was required to work.
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         3.   RCA disguised its patent minimum wage violation by contending that

its employees, like Mrs. Kruse, were “paid” through a tuition discount. RCA

referred to this as “Work Tuition.”

         4.   Mrs. Kruse and the other persons employed through “Work Tuition”

were employees under the FLSA. 29 U.S.C. §203(e)(1).

         5.   Mrs. Kruse and the other persons employed through “Work Tuition”

were engaged in interstate commerce and were entitled to $7.25 per hour for time

spent rendering services to RCA. 29 U.S.C. §206(a)(1)(C).

         6.   RCA therefore is liable to Mrs. Kruse and others in the “Work

Tuition” program under 29 U.S.C. §216(b).

         7.   The “Work Tuition” program is a common policy or scheme applied

to Mrs. Kruse and others, such that a collective action is warranted.

         8.   Therefore, Mrs. Kruse asks the Court to authorize her to issue a notice

of this suit to all persons engaged by RCA in the “Work Tuition” program during

the period February 26, 2013 - February 26, 2016 and to advise these persons of

their right to join this suit to collect compensation for unpaid wages. See Proposed

Notice, attached as Exhibit A.

         WHEREFORE, there being no just cause otherwise, Marie Kruse

respectfully asks the Court to enter an order conditionally certifying this matter for

a collective action; directing RCA to provide Mrs. Kruse with the names, addresses

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and email addresses of all persons engaged in the “Work Tuition” program; and

directing that Mrs. Kruse may notify such persons of their right to join this suit.




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                                BRIEF IN SUPPORT

Issue presented:

         Should this case be certified for a conditional collective action under the

FLSA where there is evidence of a common policy applicable to Mrs. Kruse and

others that violates the minimum wage provisions of the FLSA?



Principal Authority:

Tony and Susan Alamo Found. v. Secretary of Labor, 471 U.S. 290, 300-302
(1985)

Mendel v. City of Gilbralter, 727 F.3d 565, 573 (6th Cir. 2013)

Comer v. Wal-mart Stores, Inc., 454 F.3d 544, 546- 547 (6th Cir. 2000)




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         RCA’s “Work Tuition” program violates the minimum wage provisions of

the FLSA in that RCA employs the participants but does not pay them at least

$7.25 per hour for every hour worked. This policy was applied to Mrs. Kruse and

others in the RCA Program. A conditional collective action should be certified in

order to provide these workers with notice of this suit and an opportunity to join it

in order to pursue and protect their rights to a minimum wage under the FLSA.

    A.       Background.

         RCA is a Roman Catholic homeschooling tutoring service that provides its

participants with tutoring two days a week, with the participating families

homeschooling their children for the rest of the week. RCA charges tuition on a

per-child basis but offers a tuition discount to families who agree to work for RCA,

either as a tutor, an assistant tutor or as a childcare provider in RCA’s nursery.

See RCA Employee Handbook, attached as Exhibit B at pp. 11 – 12 (identifying

“employee categories”).     RCA now refers to the program as “Staff and Volunteer

Membership,” but, before this suit was filed and the minimum wage issues raised,

RCA’s website clearly referred to the program as “Staff Tuition Program.” Cf,

http://www.rcahybrid.org/Apply, attached as Exhibit C at page 2, and screen shots,

attached as Exhibit D.     In the pre-litigation websites, there was no mention of

“volunteers” or “membership” in connection with the “Work Tuition” program;

RCA only referenced a tuition discount for staff. Id.

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          Under the “Work Tuition” program, family members who serve as lead

tutors must work 16 hours per week and are paid $25 per week. See Declaration of

Marie Kruse (“Kruse Aff.”) at ¶4, attached as Exhibit E.           Those employees

engaged as assistant tutors or childcare providers were not paid a monetary wage.

However, lead tutor assistants and child care providers were all eligible for a

discount in tuition.1 Id. at ¶3; Declaration of Flora Burke (“Burke Aff.”) at ¶3,

attached as Exhibit G; Declaration of Julie Varchetti (“Varchetti Aff.”) at ¶ 3,

attached as Exhibit H.       All employees in the “Work Tuition” program were

required to sign employment contracts and agreed to be bound by RCA’s employee

handbook.       See May 20, 2015 Email from RCA offering employment to J.

Varchetti, attached as Exhibit I; Kruse Aff. at ¶ 5; Varchetti Aff. at ¶ 5; Burke Aff.

at ¶ 5.

          In addition, if employees in the “Work Tuition” program were late to their

mandatory shifts, left early or had an unexcused absence, RCA would dock the

employee’s pay or charge a $50 or $75 penalty, depending on the infraction. See

Handbook at p. 14; Burke Aff. at ¶6; Kruse Aff. at ¶ 6; Varchetti Aff. at ¶ 6.

Employees in the “Work Tuition” program were also subject to discipline for rules

infractions, evaluated to determine whether the employment relationship would be

renewed, and subject to a dress code. See Handbook at pp. 22 – 25.

1At RCA programs in locations other than Detroit, these employees were paid
wages for time spent working. See Facebook ads attached as Exhibit F.
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         B.    Argument.

         In this Circuit, courts apply a “two stage” proceeding to determine whether

an FLSA claim should proceed as a collective action. Comer v. Wal-mart Stores,

Inc., 454 F.3d 544, 546- 547 (6th Cir. 2000).         In stage one – the “conditional

certification” stage - the named plaintiff need only establish that a group of

similarly situated employees exists. 29 U.S.C. §216(b); Comer, 454 F.3d at 546;

Shipes v. Amurcon, Case No. 10-CV-14943, 2012 WL 995362 (E.D. Mich. March

23, 2012). The purpose of conditional certification is to notify employees of the

suit’s existence and to explain their right to participate. Comer, 454 F.3d at 546 –

547. Early notice also serves the FLSA’s broad remedial purpose and §216(b)’s

specific grant of collective rights to employees. O’Brien v. Ed Donnelly

Enterprises, Inc. , 575 F.3d 567, 583 (6th Cir. 2009) over ruled in part on other

grounds, Campbell-Ewald Co. v. Gomez, 136 S.Ct. 663 (2016).

         Because no substantive rights are determined at the first stage, the plaintiff’s

burden is slight. Comer, 454 F.3d at 547; Morgan v. Family Dollar Stores, Inc.

551 F.3d 1233, 1260 – 61 (11th Cir. 2008) (citing cases noting that standard is

“lenient”).     The burden consists solely of showing that the plaintiff’s position is

similar to other employees who were victims of “a common policy or plan that

violated the law.” Comer, 454 F.3d 546 – 57; O’Brien, 575 F.3d at 584-85.



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         Here, the common policy applicable to members of the potential collective

action is treating its workers as volunteers in order to avoid the minimum wage

provision of FLSA. Persons in the “Work Tuition” program are not “volunteers,”

but employees entitled to minimum wage under 29 U.S.C. §206(a).

                     1.    The work tuition workers meet the FLSA’s broad
                           definition of “employee.”

         While the FLSA’s definition of “employee” is circular in that it includes

anyone “employed by an employer” [29 U.S.C. §203(e)(1)], the FLSA defines

“employ” to mean, “to suffer or permit to work[.]” 29 U.S.C. §203(g). “Work”

means “physical or mental exertion that is controlled by the employer.” Mendel v.

City of Gilbralter, 727 F.3d 565, 573 (6th Cir. 2013).         This definition of

“employee” is “strikingly broad” and “cover[s] some parties who might not qualify

as such under a strict application of traditional agency law principles.” Mendel,

727 F.3d at 569, citing Nationwide Mut. Ins. Co. v. Darden, 503 U.S. 318, 323

(1992).

         Here, the “Work Tuition” employees are required to be on RCA’s site and

provide services under RCA’s hyper-controlled direction, at specific times and

dressed in an RCA uniform. The work tuition employees sign contracts and are

bound by an Employee Handbook that sets forth specific job requirements. They

are subject to reprimands and fines for deviating from the agreed upon terms of


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their employment, including the set hours of employment. Their “mental and

physical” exertions are controlled by RCA when they are at work. As such, they

are “employees” governed by the FLSA.

                     2.    The work tuition employees are not volunteers.

         The employees in the “Work Tuition” program are not volunteers under

Sixth Circuit law.    Mendel, supra. See also Marie v. American Red Cross, 771

F.3d 344 (6th Cir. 2014); Bryson v. Middlefield Volunteer Fire Dep’t., 656 F.3d 348

(6th Cir. 2011). To determine whether a person is an employee or volunteer, the

Court should apply the “economic reality” test and consider “the circumstances of

the whole activity.”      Mendel, 727 F.3d at 569, citations omitted.     If those

circumstances include “work in contemplation for compensation,” the person is an

employee and not a volunteer, even if the employee views herself as a volunteer.

Mendel, 727 F.3d at 570, citing Tony & Susan Alamo Found. v. Secretary of

Labor, 471 U.S. 290, 300 – 302 (1985). See also FLSA 2006-18 (June 1, 2006),

attached as Exhibit J.

         The parameters of the difference between an “employee” and “volunteer”

were explored by the Sixth Circuit in a trio of recent cases. In Mandel, the court

was asked to determine whether volunteer firefighters were FLSA “employees”

who could be counted in order to determine whether the employer was subject to

the Family Medical Leave Act. The court found that, although the firefighters did

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not receive any employee benefits, worked when they wanted and not on a set

schedule, the employer kept personnel files on them and paid them $15 per hour

when the firefighters actually responded to a call. Mandel, 727 F.3d at 568.

Because the firefighters agreed to work in “contemplation of compensation,” they

were not “volunteers” but “employees” under the FLSA.

         The same issue was raised in Byron v. Middlefield Volunteer Fire

Department, Inc., 656 F.3d 348 (6th Cir. 2011) and Marie v. American Red Cross,

771 F.3d 344 (6th Cir. 2014) in the context of employment discrimination claims.

The Byron court announced that remuneration was a factor in determining whether

a person was a volunteer or an employee, but it was not an independent or

dispositive factor.2 Byron, 656 F.3d at 353. Rather, “all of the incidents of the

relationship must be assessed and weighed with no one factor being decisive.”

Byron, 656 F.3d at 354. Expanding on Byron, the Marie court held that, while all

factors are important, financial factors like remuneration are “particularly relevant”

to determine whether a person was a volunteer or an employee. Marie, 771 F.3d at

354. Other relevant factors that distinguish volunteers from employees include

2 The other relevant factors include the skill required for the work; whether the
hired party provides necessary tools; the location of the work; the duration of the
relationship; whether the hiring party has the right to assign additional projects; the
extent of the hired party’s discretion over when and how long to work; the method
of payment; the hired party’s role in hiring and paying assistants; whether the work
was part of the regular business of the hiring party; the provision of employee
benefits; and the tax treatment of the hired party. Bryson, 6565 F.3d at 352,
citations omitted.
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whether the employer required the employee to “operate on a fixed schedule or

closely controlled their work[.]” Marie, 771 F.3d at 357. Finally, whether the

termination of the employment status was economically “meaningful” for the

employee is also a factor in determining whether the employee is a volunteer.

Marie, 771 F.3d at 359.

         Here, RCA dictated the Work Tuition employees’ schedule and instituted

financial penalties when the employee deviated from the set schedule.          The

employees did not have the right to dictate how they did the work, where they did

the work or what work they would do; the tutors had to follow strict guidelines and

were subject to audits or reviews. The assistants could be moved from job to job,

depending on RCA’s whim. The Work Tuition employees received 2 paid sick

days per year and bereavement leave, a generous employee benefit given their part

time status. Most importantly, the people in the Work Tuition program received

remuneration in the form of a tuition discount.3 In the case of Mrs. Kruse, that

discount was worth thousands of dollars per year during the time that her seven

children were enrolled. This was not a minor or “incidental” benefit, but the

primary motivation for the services provided to RCA. Alamo Foundation, 471

U.S. at 301 (workers were “employees” of non-profit and not volunteers because


3If RCA were a “school” under the Internal Revenue Code, it could offer tuition
discounts to employees, tax-free. 26 U.S.C. 117(d). However, the tuition reduction
cannot be offered in exchange for services or it must be treated as income.
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they exchanged services for room and board). Under Mandel, Byron and Marie,

the workers enlisted in RCA’s work tuition program were employees entitled to a

minimum wage for all hours worked, and not volunteers.

         C.    Conclusion.

         In order for the Court to conditionally certify this matter as a collective

action, Mrs. Kruse merely had to show that there were other employees affected by

a common policy that may violate the FLSA. She has met her burden. This case

should be conditionally certified; RCA directed to provide Mrs. Kruse with the

names, addresses and email addresses of all people who participated in the work

tuition program; and Mrs. Kruse allowed to mail the attached notice to all potential

collective actions participants.

                                        MADDIN HAUSER ROTH
                                        & HELLER, P.C.


                                        /s/ Kathleen H. Klaus
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                          CERTIFICATE OF SERVICE
         I Kathleen H. Klaus, being duly sworn, depose and state that on May 11,
2016, I electronically filed the foregoing papers with the Court using the ECF
system which will send notification to all parties registered to receive electronic
filings.
                                      /s/ Kathleen H. Klaus
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